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 5
                                       UNITED STATES DISTRICT COURT
 6                                   NORTHERN DISTRICT OF CALIFORNIA
 7                                        SAN FRANCISCO DIVISION

 8
     IN RE: CATHODE RAY TUBE (CRT)             Master File No. 3:07-cv-5944 JST
 9   ANTITRUST LITIGATION
     _________________________________________ MDL No. 1917
10
     THIS DOCUMENT RELATES TO:                         Individual Case No. C 13-05261 SC
11
     ALFRED H. SIEGEL, AS TRUSTEE OF THE               [PROPOSED] ORDER
12   CIRCUIT CITY STORES, INC. LIQUIDATING
     TRUST,
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                        Plaintiff,
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     v.
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     TECHNICOLOR SA.; et al.,
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                        Defendants.
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     [Proposed] Order - 1                                       MASTER FILE NO.: 3:07-cv-5944 JST
                                                                          CASE NO. C 13-05261 SC
     4251883v1/012325
       Case 3:07-cv-05944-JST Document 4543 Filed 04/05/16 Page 2 of 2



 1           The Court, having considered the stipulation of the parties, and good cause appearing
 2   therefore, orders as follows:

 3           1.         All claims asserted by plaintiff Alfred H. Siegel, solely in his capacity as Trustee
     of the Circuit City Stores, Inc. Liquidating Trust, against defendants Thomson SA (now known as
 4
     Technicolor SA) and Thomson Consumer Electronics, Inc. (now known as Technicolor USA,
 5
     Inc.) (collectively, “Thomson”); and Technologies Displays Americas LLC (formerly known as
 6   Thomson Displays Americas LLC) (“TDA”) are dismissed with prejudice pursuant to Rule
 7   41(a)(2) of the Federal Rules of Civil Procedure.
 8           2.         Each party shall bear its own costs and attorneys’ fees.

 9           3.         This Order is not a dismissal of any person or entity other than Thomson and
     TDA.
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             IT IS SO ORDERED.
12                                                                       ISTRIC
                                                                    TES D      TC
13                 5th day of _______________,                    TA
             This _____          April         2016.




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15                                                                 I S S O
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                                                                IT Jon S. Tigar
                                                              Hon.




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16                                                            United States District Court Judge
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     [Proposed] Order - 2                                                   MASTER FILE NO.: 3:07-cv-5944 JST
                                                                                      CASE NO. C 13-05261 SC
     4251883v1/012325
